      Case 1:20-cv-03311-VEC Document 9
                                      8 Filed 05/05/20
                                              05/04/20 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------X       Case No. 20-cv-3311
SOCIAL LIFE MAGAZINE, INC.,

             Plaintiff,
v.                                    ORDER TO SHOW CAUSE

SENTINEL INSURANCE COMPANY                      USDC SDNY
LIMITED,                                        DOCUMENT
                                                ELECTRONICALLY FILED
          Defendant.                            DOC #:
------------------------------X                 DATE FILED: 05/05/2020

     This matter having come before the court upon application

of plaintiff, upon the Declaration of plaintiff dated May 4,

2020, together with the exhibits annexed thereto and plaintiff’s

Memorandum of Law dated May 4, 2020, it is

     ORDERED, that the above-named defendants show cause before

this Court at a telephonic hearing on May 14, 2020 at 10:00

a.m., or as soon thereafter as counsel may be heard, why an

order pursuant to Fed. R. Civ. Proc. 65 should not be made, (1)

compelling defendant to pay plaintiff $197,000 and (2) granting

such other relief as the court deems equitable and just; and it

is further

     ORDERED, that answering affidavits, if any, are required to

be filed and served by ECF filing no later than May 12, 2020;

and it is further

     ORDERED, that a copy of this within Order together with the

supporting papers shall be served by plaintiff upon defendant
      Case 1:20-cv-03311-VEC Document 9
                                      8 Filed 05/05/20
                                              05/04/20 Page 2 of 2



via overnight delivery and email by May 5, 2020.

    ORDERED that all parties and interested members of the

public must attend the hearing by dialing 1-888-363-4749,

using the access code 3121171 and the security code 3311.

While members of the public are welcome to join the call,

they are directed to mute their telephones for the duration

of the call. Every participant must identify himself or

herself each time before they speak.


______________________        Date: 05/05/2020
U.S.D.J.
